             Case 2:20-cv-00055-RAJ Document 1 Filed 01/13/20 Page 1 of 5




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5
                                     UNITED STATES DISTRICT COURT
6                              WESTERN DISTRICT OF WASHINGTON AT SEATTLE

7    LOCALS 302 AND 612 OF THE
     INTERNATIONAL UNION OF                                          NO.
8    OPERATING ENGINEERS
     CONSTRUCTION INDUSTRY HEALTH
9
     AND SECURITY FUND; LOCALS 302                                   COMPLAINT TO COMPEL AUDIT
10   AND 612 OF THE INTERNATIONAL
     UNION OF OPERATING ENGINEERS-
11   EMPLOYERS CONSTRUCTION
     INDUSTRY RETIREMENT FUND;
12   WESTERN WASHINGTON OPERATING
13
     ENGINEERS-EMPLOYERS TRAINJNG
     TRUST FUND,
14
                                          Plaintiffs,
15
                             V.
16

17
     HAYWARD BAKER, INC., a Delaware
     corporation,
18
                                          Defendant.
19


20
                 Plaintiffs Locals 302 and 612 of the international Union of Operating
21
     Engineers Construction Industry Health and Security Fund, Locals 302 and 612 of
22
     the International Union of Operating Engineers-Employers Construction industry
23
     Retirement Fund, and Western Washington Operating Engineers-Employers Training
24

25
     Trust Fund and allege;

26
     COMPLAINT TO COMPEL AUDIT                                                Reid, McCarthy, Ballew & Leahy, L,L,P.
                                                                                              ATTORNEYS AT LAW
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                                                                                   TELEPHONE: (206) 285-0464 • PAX: (2(Y>) 2H5.K925
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                 They are unincorporated associations operating as trust funds pursuant to
2

3    Section 302 of the Labor Management Relations Act of 1947, as amended, to

4    provide medical, retirement, and training benefits for eligible participants. Plaintiffs'

5
     offices are located in King County, Washington.
6
                                                                    II.
7
                 The Court has jurisdiction over the subject matter of this action under Section
8

     502 (e)(1) and (f) of the Employee Retirement Income Security Act of 1974
9

10   ("ERISA"), 29 U.S.C. §1132 (e)(1) and (f) and under Section 301 (a) of the Taft-

11   Hartley Act, 29 U.S.C. §185 (a).

12
                                                                    IN.

!3
                 Venue is proper in this district under Section 502 (e)(2) of ERISA, 29 U.S.C.
14
     §1132 (e)(2), because plaintiff Trusts are administered in this district.
15
                                                                    IV.
16

                 Defendant is a Delaware corporation.
17

t8                                                                  V.


19               Defendant is bound to a collective bargaining agreement with Locai 302 of the

20
     International Union of Operating Engineers (hereinafter "Local"), under which
21
     Defendant is required to promptly and fully report for and pay monthly contributions to
22
     the Plaintiff Trusts at varying, specified rates for each hour of compensation
23
     Defendant pays to its employees who are members of the bargaining unit
24

25   represented by the Local (such bargaining unit members are any of Defendant's part

26
     COMPLAINT TO COMPEL AUDIT                                            Reid, McCarthy, Ballcw & Leahy, L.LP.
                                                                                          ATTORNEYS AT LAW
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      time or full time employees who perform any work task covered by the Defendant's
!

2
      labor contract with the Local, whether or not those employees actually Join the Local).

3                                                                     VI.

4                 Defendant accepted the Plaintiffs' respective Trust Agreements and thereby

5
      agreed to audits by the Plaintiff Trusts of its records as follows, in part:
6
                  The Board may require the Employers, any Signatory Association, any
7                 Individual Employer, the Union, any Empioyee or other beneficiary to promptly
                  furnish to the Trustees, on demand, such payroll records, information, data,
8                 reports, or documents reasonably required for the purposes of administration
                  of the Fund. The parties agree that they will use their best efforts to secure
9
                  compliance with any reasonable request of the Board for any such information,
10                data, reports or documents. The Trustees, or their authorized representatives,
                  may examine the pertinent payroll records of each Individual Employer with
II                respect to the Employees benefiting from this Agreement whenever the
                  Trustees in connection with the proper administration of the Fund deem such
12
                  examination necessary or advisable.
13
                  in the event that any such audit shall determine that the Individual Employer is
14                delinquent in the payment of contributions due the Fund, the Individual
                  Employer shall be obligated for the cost of such audit; provided, however, that
15                the Board of Trustees may waive the imposition of such costs upon good
                  cause shown.
16

17
                                                                      VI!.

!8                The Trustees of Plaintiff Trusts deem it both necessary and advisable to the

19    proper administration of the Trusts that their authorized representatives examine the

20
      Defendant's books and records for the inclusive period of October 1, 2013 through
21
      the Present Date to determine if the Defendant previously reported for and paid to
22
      the Trusts all of the amounts due them for the inclusive empioyment of members of
 23
      the bargaining unit represented by the Local for said period.
 24

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      COMPLAINT TO COMPEL AUDiT                                              Reid, McCarthy, Ballew & Leahy, L.L.P.
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              Case 2:20-cv-00055-RAJ Document 1 Filed 01/13/20 Page 4 of 5




                                                                        VIII.
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                  On February 18, 2019 and March 7, 2019, notification letters were sent to the
3
     Defendant. To date, there has been no response to these letters by the Defendant to
4
     make all of the requested records available for the thorough examination the
5

     Trustees deem necessary and advisable to the proper administration of the Trusts.
6

7                 WHEREFORE, Plaintiffs pray the court as follows:

8                 1. That the Court enter an Order Compelling Audit under which the
9
     Defendant shall be directed by the Court, within a specified time to make available to
10
     the authorized representatives of the Trustees of the Trusts the foilowing documents
11
     for the period October 1 , 2013 to the Present Date:
12
                               A. Payroll registers or other documents which show wages paid and
13
                                            hours worked by month (preferably) or week to tie out to the
14                                          Monthly Union Report hours.

15                             B. Employee Roster including Job Classifications for ALL (Union
                                            and Non-Union) employees in Washington and Alaska from 2013
!6                                          through 2017.
17                2. Afford to the authorized representatives of the Trustees of the Trusts

18
     both ample time and opportunity to examine alf such materials of Defendant at such
19
     time and at such place as shal! be convenient to the Trustees' authorized
20
     representatives.
21

                  3. For judgment against the Defendant for:
22

23                             A. All of the Plaintiff's attorney's fees incurred in gaining auditor

24                                          access to Defendant's records;

25

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     COMPLAiNT TO COMPEL AUDIT                                                  Reid, McCarthy, Ballew & Leahy, L.L.R
                                                                                                ATTORNEYS AT LAW
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                                B. All auditing expenses incurred by the Trusts in conducting the
\

                                            audit;
2

3                               C. All of the Plaintiffs' costs incurred in gaining auditor access to

4                                           defendant's records; and

5
                                D. For such other and further relief as the Court may deem just and
6
                                            equitable.
7
                    DATED this 10th day of January, 2020.
8
                                                                      REID, MCCARTHY, BALLEW & LEAHY,
9
                                                                      L.L.P.

10

11
                                                                      Russell J. ^i4AVSBA #2560
12                                                                    Attorney for Plaintiffs

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